Case 1:23-cv-11808-ESK-EAP            Document 230           Filed 11/21/24   Page 1 of 1 PageID:
                                            4629



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 COMMODITY FUTURES TRADING
 COMMISSION,
                                                    Civil Action No. 23-11808
                        Plaintiff,

          v.                                             ORDER OF SPECIAL MASTER

 TRADERS GLOBAL GROUP INC., et al.,

                        Defendants.


LINARES, J.

        This matter having been brought before the Special Master for a status conference on

November 15, 2024 in connection with the pending Motion for Sanctions (“Motion”) (ECF 172)

filed by Defendants Traders Global Group Inc., a New Jersey corporation, d/b/a “My Forex Funds,”

Traders Global Group Inc., a Canadian business organization, and Murtuza Kazmi (“Defendants”);

and counsel for Plaintiff Commodity Futures Trading Commission (“CFTC”) and counsel for

Defendants appearing; and for the reasons set forth on the record;

        IT IS on this 21st day of November, 2024,

        ORDERED that the parties shall file their respective post-hearing submissions on

December 6, 2024, and each submission shall be limited to fifty (50) pages, inclusive of proposed

findings of fact and conclusions of law; and it is further

        ORDERED that closing arguments shall be conducted on December 18, 2024 at 10 am in

Newark, N.J., specific location to be confirmed, with each party limited to ninety (90) minutes.

        SO ORDERED.

                                              __/s/ Jose L. Linares_______________________

                                              Hon. Jose L. Linares, U.S.D.J. (Ret.)


ME1 46902296v.1
